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                                                                2:20 pm, 3/31/20

                                                             Margaret Botkins
                                                              Clerk of Court




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                                  Professional Conduct Guide
The mission of the Professional Teaching Standards Board (PTSB) is to ensure that every student is served by
                  competent, ethical educators who meet rigorous performance standards.


                                  The Best Way to Teach is by Example - Einstein
The following examples of appropriate professional conduct are presented by the Professional Teaching Standards Board in sup-
port of Wyoming educators’ commitment to ensuring safe, healthy environments for students. The Professional Teaching Stan-
dards Board strongly recommends that all school staff become knowledgeable of their local district’s policies regarding profes-
sional conduct. Support a school culture of professionalism by helping to create a culture of intolerance for unprofessional
behavior. Ignoring unprofessional conduct sends the message that such behavior is acceptable.

HEALTHY BOUNDARIES: All students have the right to be safe emotionally, physically, and intellectually. More than ever,
kids need healthy, clearly-defined relationships with adults. Educators are mentors; and as such, have the responsibility to
model, teach, encourage, and support positive, healthy human relationships.
     Maintain a professional relationship with students inside and outside of school property.
          o Going to parties or socializing with students is inappropriate.

                                                 DRAFT
          o Assigning or requesting students to do errands to meet personal needs is inappropriate.
          o Inviting students to your home, especially when no one else is present, is inappropriate.
          o A pattern of writing passes, making excuses, or rides home, for a particular student, or students is inappropriate.
     Use caution in the way you touch students.
          o Lingering massages or touches, kisses, or asking for a hug are inappropriate.
          o Do not engage in, solicit, or consummate any inappropriate written, verbal, or physical relationship with a
               student.
     If you need to speak with a student privately, leave your classroom door open.
     Maintain a professional relationship with students at extracurricular activities. Loose, inappropriate boundaries set the
     stage for inappropriate gender and harassment issues.
     Ensure that a chaperone is present and available to students during off-campus school sponsored activities. It is recom-
     mended that there is a male chaperone for male students and a female chaperone for female students.
     Remind students of the limits of your relationship as an educator.
          o Affirm the helping nature of your relationship with students.
          o Assist students to obtain the additional supports they may need; counseling, medical interventions, etc.
          o As an educator you are a role model, not their friend, not their confidante, or surrogate parent.
     Model appropriate language for students. The use of profanity, vulgarity, put downs, sarcasm, or name calling is inappro-
     priate at all times in the presence of students.
          o Student-educator communications should be open and void of any “hidden messages".
     Dress professionally – regardless of current trends. Dress in a manner in which you can be actively involved in student
     learning and activities.
          o Clothing with vulgar statements, sexual innuendos, discriminatory put downs, or that promote the use of illegal and
               unauthorized drugs or alcohol should not be worn at school.
     Students need to be supervised at all times while in your classroom.
     Do not use, possess, be under the influence of, or encourage the use of alcohol, illegal drugs, or the unauthorized use of
     drugs while on school property or at a school sponsored activity involving students.
          o Do not encourage the use of or supply any illegal or unauthorized drug to students.

TECHNOLOGY
   Do not use your personal phone to text or call students. If required to use – or recommended to use – by your school,
   request that the school issue you a phone specifically to use with students.
   Email students via your school sponsored web site, computer, or email. Do not use your personal email account. Con-
   sider all emails public.
   School computers are to be used for school purposes at all times –whether used at school or away from school.
   o Do not download sexually explicit or any inappropriate or questionable material on school computers.
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      My Space, Facebook: If you don’t want the Superintendent reading it aloud to you in a meeting, don’t post it.
           o Be aware, once you post something it is there forever. You may take it off – but information you want deleted may
                already be out on the internet – without any future control by you.
           o Set up your site as private. (Understand that “privacy” on the internet is an oxymoron.)
           o When adding photos select the option “do not share photos”.
           o Delete any off-color comments made by friends.
           o Do not “tag” your photos with your name or the names of others. Tagging photos means listing the people in the
                photos by name, either partial or full. “Tagged” photos automatically link to others’ sites.
           o Keep blogging work friendly. Do not use names of co-workers, bosses, or students in a rant about a bad day at
                school.
           o Do not allow students into your site.
           o Do not give out personal information.
      Movies, TV programs, internet sites, reading material, etc. used at school by you for students need to comply with school
      district policy.

  PROFESSIONAL EDUCATOR
     Maintain confidentiality.
          o Grades, test scores, reports from related services personnel (school psychologist’s reports, nurse, etc) and informa-
              tion from community agencies (Department of Family Services, police department, etc), and sensitive information
              shared by family members to you are confidential.
          o Disclosure of information to persons who do not have both a right and a need to know is a violation of the
              law.
     Respect differences; plan for inclusive groupings for instruction and other school activities.
          o Assign leadership roles equitably.
          o Be careful not to group on the basis of race, gender, family, social, or cultural background, national origin, political
               or religious beliefs, or disability.
          o Actively participate in and comply with Individual Educational Programs (IEP) and 504 plans.
          o Students should not be labeled based on race, gender, sexual orientation, family, social, or cultural background,
               national origin, political or religious beliefs, or disability. Do not undermine a student’s beliefs by criticizing, mak-
               ing fun of, or “subtle” sarcasm.
     Adhere to federal and state laws, professional licensure requirements, and local school policies.
     Recommend for employment only those educational professionals who have demonstrated professional and ethical behav-
     ior.
     Act with honesty and integrity in administering standardized tests.
          o Follow the directions for administering the test explicitly.
          o Do not read sections that students are required to read independently.
          o Do not lead a student to the correct answer.
          o Do not falsify answers or copy and teach to specific test items on the test.
          o Do not edit or change any student answers or results.
     Conduct financial business with integrity and by honestly accounting for all funds committed to the educator’s charge and
     collect and report funds consistent with the school and district policy.
     Comply with inquiries regarding investigations and hearings initiated by the Professional Teaching Standards Board.
     Provide truthful information on all documents and applications for licensure.




                             Wyoming Professional Teaching Standards Board

Additional References:                                 1920 Thomes Ave, Suite 400
Wyoming Rules and Regulations Governing Licen-         Cheyenne, WY 82002
sure of School Personnel, Due Process, Ch 9.           Phone: (307) 777-6261
(http://ptsb.state.wy.us/RulesRegulations/tabid/62/    Fax: (307) 777-8718
Default.aspx )                                         Website: http://ptsb.state.wy.us
Code of Ethics of the Education Profession:
http://sites.nea.org/aboutnea/code.html                  Created January 2010
